                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

In re:                                    )     Case No. 22-10571
                                          )
Matthew M. Motil,                         )     Chapter 7
                                          )
      Debtor.                             )     Judge Harris
______________________________________________________________________________

   DEBTOR’S RESPONSE TO UNOPPOSED MOTION OF THE U. S. TRUSTEE TO
        EXTEND TIME IN WHICH TO FILE A COMPLAINT OBJECTING TO
               DISCHARGE PURSUANT TO 11 U.S.C. SECTION 727
______________________________________________________________________________

         1.    The Debtor does not oppose the Motion of the U.S. Trustee for an extension of time

through August 3, 2022 to file a Complaint objecting to discharge under Section 727(a). The

extension was agreed upon in advance, as the Motion indicates.

         2.    The U. S. Trustee has correctly described the requests for documents issued by the

U. S. Trustee. The document request is substantial, and the Debtor and his undersigned counsel are

in the process of assembling responsive documents.

         3.    The Debtor disagrees with language set forth in Paragraph 3 of the Motion of the

U. S. Trustee reading: “On information and belief, the Debtor solicited unsophisticated and

unaccredited investors to participate in various real estate investments that the Debtor directed.”

The Debtor objects to this statement because the facts of this case will show that the Debtor did not

“solicit” anyone, let alone “unsophisticated and unaccredited” “investors” to “participate” in

various real estate “investments” that the Debtor “directed.”

         4.    Instead, the facts of this case will demonstrate that several wealthy individuals made

loans to businesses owned by the Debtor in the hopes of earning exceptionally high rates of interest,

and that those individuals did so heedless of the risks of making high interest loans without



                                                 1



 22-10571-aih      Doc 50     FILED 06/09/22       ENTERED 06/09/22 15:59:18           Page 1 of 2
performing reasonable due diligence and/or obtaining assistance in understanding and obtaining

appropriate real estate collateral.

        5.      The Debtor also objects to the language of Paragraph 3 made “on information and

belief” by the U. S. Trustee at a time when the Trustee has not yet been able to review documents

in the case or otherwise complete a thorough investigation of the relevant facts and circumstances.

It is therefore not clear upon what “information” the “belief” of the U. S. Trustee is based.

        6.      The Debtor in this case, and his undersigned counsel, have a great deal of respect

for the critical work performed by the U. S. Trustee, and particularly, for the Trial Attorney for the

U. S. Trustee in this case. However, the Debtor believes it is necessary to appropriately and

respectfully challenge the statements set forth in Paragraph 3 of the Motion.



                                                      Respectfully submitted,
                                                      /s/Thomas W. Coffey
                                                      Thomas W. Coffey (0046877)
                                                      Coffey Law LLC
                                                      2430 Tremont Avenue
                                                      Cleveland, OH 44113
                                                      (216) 870-8866
                                                      tcoffey@tcoffeylaw.com

                                                      Counsel for the Debtor


                                      Certificate of Service

        I hereby certify that a copy of the foregoing Debtor’s Response To Unopposed Motion of
the U. S. Trustee to Extend Time in Which to File a Complaint Objecting To Discharge Pursuant
to 11 U.S.C. Section 727 was served on Scott R. Belhorn, Trial Attorney for the U. S. Trustee and
all other counsel of record in this case through the Court’s electronic filing system on this 9th day
of June, 2022.

                                                      /s/ Thomas W. Coffey
                                                      Thomas W. Coffey (0046877)




                                                  2



 22-10571-aih       Doc 50     FILED 06/09/22      ENTERED 06/09/22 15:59:18            Page 2 of 2
